Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 1 of 10 Pageid#:
                                  15379




         EXHIBIT 3
Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 2 of 10 Pageid#:
                                  15380
Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 3 of 10 Pageid#:
                                  15381
Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 4 of 10 Pageid#:
                                  15382
Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 5 of 10 Pageid#:
                                  15383
Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 6 of 10 Pageid#:
                                  15384
Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 7 of 10 Pageid#:
                                  15385
Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 8 of 10 Pageid#:
                                  15386
Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 9 of 10 Pageid#:
                                  15387
Case 3:17-cv-00072-NKM-JCH Document 899-3 Filed 10/29/20 Page 10 of 10 Pageid#:
                                   15388
